              Case 1:19-cr-00053-RP Document 10 Filed 03/18/19 Page 1 of 1

AO 455 (Rev. 01/09) Waiver of an Indictment



                                                                                                FILED
                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS                                   MAR 1         8 2019
                                        AUSTIN DIVISION                                 CLERK, U     S.   DISTF6'OURT
                                                                                       WESTERN       DIST    IT OF TEXAS
United States of America
                                                                                                             /   -,
                                                                                                                 DEPUTY

v.                                                    NO: AU:19-CR-00053(1)-RP

(1) Denis Calabrese



                                         WAIVER OF INDICTMENT

     I understand that I have been accused of one or more offenses punishable by imprisonment
for more than one year. I was advised in open court of my rights and the nature of the proposed
charges against me.

     After receiving this advice, I waive my right to prosecution by indictment and consent to
prosecution by information.



Date:            March 18, 2019
                                                                     Defendant's signature




                                                               Signature o defendants at1orne




                                                                Richard B. Kuniansky
                                                              Printed name of defendant's attorney




                                                            ANDREW W. AUSTIN
                                                     UNITED STATES MAGISTRATE JUDGE
